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SAO 199A (Rev. 6/97) Order Setting Conditions of Release Page | of

UNITED STATES DisTRICT COURT

 

 

 

—Eastern District of Virginia |
United States of America ORDER SETTING CONDITIONS
y OF RELEASE
Christopher Warnagiris Case Number: 1:21-mj-167
Defendant

IT IS ORDERED that the release of the defendant is subject to the following conditions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. Anomey in writing before any change in
address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

directed. The defendant shall appear at (if blank, to be notified) United States District Court
: Place

401 Courthouse Sq., Alexandria, VA on AS. DIRECTED
333 Constitution Avenue N.W. Washington D.C. 20001 Date and Time

Release on Personal Recognizance or Unsecured Bond
IT IS FURTHER ORDERED that the defendant be released provided that:
( / ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.

( )} G) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

dollars ($ )

in the event of a failure to appear as required or to surrender as directed for s service of any sentence imposed.

 

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICES US. ATTORNEY U.S. MARSHAL

 

 

 
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— - ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(L-]) (6) The defendant is placed in the custody of:

Person or organization —_

Address (only if above is an organization) _

City and state _ a —_— — == ; Tel. No. _ ee
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed:

Custodian Date
(HD) ©) The defendant must:
(JM) (a) submit to supervision by and report for supervision to the Pretrial Services, 401 Courthouse Square, 3rd Floor, Alexandria, VA ,
telephone number 703-299-2300 » no later than noon on 5/14/2021
({-)) (&) continue or actively seek employment.
({_) (c) continue or start an education program.
( )) (d) surrender any passport to:
(E)) (e) not obtain a passport or other international travel document.
(HD () abide by the following restrictions on personal association, residence, or travel: Do not depart the Washington D.C. metropolitan area
without prior approval of Pretrial Services or the Court.
(BB) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: No contact with any co-defendant, potential witness or victim for the charged offense unless in the presence of counsel.

 

 

({_]) (h) get medical or psychiatric treatment: _

(CL) Gi) return to custody each _ _ - at o’clock after being released at 7 - _ ~— o’clock for employment, schooling,
or the following purposes:

(C)) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers

necessary.

(CL) (k) not possess a firearm, destructive device, or other weapon.

(L}) () notuse alcohot( (J )atan¢ 01) excessively.

(L) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a

licensedmedical practitioner.

({_}) (@) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
of prohibited substance screening or testing.

((_]) (©) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

({_) (p) participate in one of the following location restriction programs and comply with its requirements as directed,

(CL) (i) Curfew. You are restricted to your residence every day( (()) from — to ————_—gor (CD Jas
directed by the pretrial services office or supervising officer; or

({_]) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
medical, substance abuse, or mental health treatment: attorney visits; court appearances; court-ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer; or

({_) Gii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court; or

({(_]) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
you must comply with the location or travel restrictions as imposed by the court.
Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.

 
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ADDITIONAL CONDITIONS OF RELEASE

(LD) (q) submit to the following location monitoring technology and comply with its requirements as directed:
([) (i) _ Location monitoring technology as directed by the pretrial services or supervising officer; or
({}) (ii) Voice Recognition; or
({_)) (iii) Radio Frequency; or
(TC) (iv) GPS.

( LC) (t) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
officer,

(BB) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
questioning, or traffic stops.

(i } (t) Reside at current residence and not move without prior approval of Pretrial Services aor the Court.

 

 

 
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AO 199C (Rev. 09/08) Advice of Penalties Page 4 of 4 pag ne
ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your, aryest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment,.a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.é., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release Tequire, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years ~ you will be fined not

‘more than $250,000 or imprisoned for not more than five years, or both;

(3) anyother felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both:

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive, In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions

set forth above.

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I "City and'Stae } Telephone Number

Directions to the United States Marshal

(HM) The defendant is ORDERED released after processing.

((_) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be

produced before the appropriate judge at the time and place specified.

5/13/2021 /s/ van D. Davis

Date: _
Judicial Officer's Signature

Ivan D. Davis, United States Magistrate Judge

Printed name and title

 

DISTRIBUTION: COURT = DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY US. MARSHAL
